           Case 1:20-cr-10126-ADB Document 13 Filed 03/31/21 Page 1 of 2



                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )                20-cr-10126-ADB
                                          )
PHILIP COOKE                              )


                       ASSENTED-TO MOTION TO CONTINUE SENTENCING

        The Defendant, Philip Cooke, respectfully requests to continue his sentencing from May 26 (8

weeks from now) to a date convenient for the Court in July 2021. As grounds for motion, defendant

states he would like to appear in person at his sentencing, but despite his eligibility for the Covid-19

vaccine in California, he has been unable to secure a vaccination appointment in Santa Clara County,

where he lives, despite regularly seeking same. Supply is short in that county. See, Attachment A (LA

Times article, March 27, 2021). A “mad rush” has been underway since California opened eligibility to

ages 50-64, with eligibility soon to open to all adults. Id. There are many more people seeking the

vaccine than can currently be accommodated. Id.

        Mr. Cooke is insured through Kaiser Permanente, which is having particular difficulty obtaining

sufficient supply. They recently notified their members:

        We look forward to vaccinating all our members and communities, but for now
        vaccine supply remains limited. We haven’t received enough doses yet to vaccinate
        everyone who’s eligible. In Northern California, Kaiser Permanente has over 900,000
        members 50 to 64, and over 2 million members 16 to 49, yet we receive 55,000 to
        75,000 doses each week.

Attachment B (Kaiser notice, March 30, 2021).

        Once Mr. Cooke is able to obtain an appointment, depending on which vaccine he receives, there

will be three to four weeks before the second vaccine, and then another two weeks for antibodies to

develop. See, Attachment C (Healthline article, March 9, 2021). Given the need to make flight plans for

Boston, with the inability to determine when he will be able to become vaccinated, the defendant seeks

the extension to July because the additional time should provide the time needed for California to work
           Case 1:20-cr-10126-ADB Document 13 Filed 03/31/21 Page 2 of 2



out its supply and distribution issues so that he can be vaccinated, and to allow him to make travel

arrangements in a reasonable way.

        The undersigned has conferred with the prosecutor, AUSA Seth Kostco, who assents to this

motion, and has also conferred with U.S. Probation Officer Carolyn Patten, who is also amenable.



                                                          Respectfully submitted,

                                                          /s/ Susan G. Winkler
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                                           Certificate of Service

         I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF).

                                                          /s/ Susan G. Winkler
March 31, 2021                                            Susan G. Winkler
